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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division


     ELIZABETH SINES, SETH WISPELWEY,
     MARISSA BLAIR, APRIL MUNIZ, MARCUS
     MARTIN, NATALIE ROMERO, CHELSEA
     ALVARADO, THOMAS BAKER and JOHN
     DOE,
                                                            Civil Action No. 3: 17-cv-00072-NKM
                         Plaintiffs,
     v.

     JASON KESSLER, et al.,

                         Defendants.


        ORDER GRANTING PLAINTIFFS’ MOTION TO SEAL THEIR MOTION FOR
    SANCTIONS AGAINST DEFENDANT JAMES ALEX FIELDS, JR. AND SELECTED
                         SUPPORTING EXHIBITS


          WHEREAS, on August 11, 2021, Plaintiffs filed redacted copies of their Motion for

   Sanctions and supporting Appendix B against Defendant James Alex Fields, Jr and did not publicly

   file supporting Exhibits 7, 8, and 19-24 in accordance with Plaintiffs’ position that their unredacted

   Motion, Appendix B and these selected exhibits contain confidential information pursuant to the

   Agreed Privacy Protective Order entered on September 22, 2020 (ECF No. 882) and Order for the

   Production of Documents and Exchange of Confidential Information entered on January 3, 2018

   (ECF No. 167);

          WHEREAS, Plaintiffs have provided unredacted copies of their Motion, Appendix B and

   supporting Exhibits 7, 8, and 19-24 to the Court and moved, pursuant to Local Rule 9, for them to

   be sealed.
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          IT IS HEREBY ORDERED that Plaintiffs’ Motion for Sanctions against Defendant

   James Alex Fields, Jr. and supporting Appendix B and Exhibits 7, 8, and 19-24 be sealed pursuant

   to Local Rule 9.




   Dated: August 17, 2021

   SO ORDERED




                                               __________________________________
                                               Hon. Joel C. Hoppe, M.J.
